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EXHIBIT 8
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PERKINS
4 Comprehensive Human Service Agency for Children, Adolescents, Adults & Senior Citizens

Perkins

Manual: Perkins Policy and Procedures Chapter: Personnel
Title: Cell Phone Reimbursement Policy #: 312.1
Policy

This policy applies to employees who have an authorized need for mobile devise services
and will define the criteria for a monetary allowance to an employee for work-related use
of their personal mobile device and associated voice and/or data plans.

Procedures

Eligibility
An employee who has an authorized need and where their position requires them to be
on/call, may, be reimbursed for their personal cellular phone or smart phone services.

e Mobile devise reimbursement will be $30.00 per month paid on the first pay per
month.

e Rates for reimbursement of person cellular or smart phone services will be
reviewed annually.

e Employees authorized for this reimbursement will receive this reimbursement
monthly through payroll. Reimbursement is considered non-taxable consistent
with the most recent Internal Revenue Service regulations regarding Employer-
provided cellular phones. The taxability of this reimbursement is subject to
change in accordance with subsequent Internal Revenue Service rulings.

Approval Process:

e lf supervisor deems it appropriate for an employee to be eligible for mobile devise
reimbursement based on the above criteria, the supervisor shall submit written
justification to the Vice President of Education for education staff and the COO
for all other program staff. The approved justification will be submitted to the
Finance department.

e Any employee who transfers to a new position will need a new mobile devise
reimbursement justification approved for the new position.

e lf approved, the supervisor's written justification and employee’s personnel cell
phone will be submitted to payroll for the employee to be reimbursed.

The cell phone contract will be between the carrier vendor and the employee. The
employee will be solely responsible for all payments to the service provider. Only one cell
phone allowance will be provided per employee. The allowance will be terminated upon
employee separation and will coincide with the effective date of the separation.

(Legal Regulations/Standards Reference)

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